    Case 2:11-cv-00084 Document 1276 Filed on 08/02/22 in TXSD Page 1 of 8



'Dear JwfgeJanis (jrafiam]ack,

I am a homemaker, motlier of 6 and fiave served my community for 20
years. I am writi'n{J tfiis {etter on hefia[f of my fami{y wfiicfi inc{udes my
 fiushana Larry .'Anderson, me ana our 6 children
                                    . We ask tfiat you y{ease intervene in our
 very serious ana de{icate matter regard-i'n[J 'D:f'PS of 'Denton, 'IX ana
 'Denton County Courts. :My fiushana ana I were court ordered to
 comy{ete services, as of 3/8/2022 mine were comy{eted ana on 3/15/22
 Larry's were comy{etetf. We are y{eatfi'n{J witfi you for a case manager to
 intervene in tfiis matter. Tfie foster care system fias f ai{ed ana viofated
 our 6 children's rifJfits tfiat they're suyyosed to yrotect in the fo{{owing
 ways .
         , our 13 year old daughter was yfiysicaffy assau{ted in a sfie{ter
 where sfie remained an additiona{ 60 days hefore being movec[, a{tfiougfi
 sfie fias a safety net with f ami{y during tfiis time.         , our 4 year old
 daughter fias heen abused in tfie foster fiome hy foster sihfi'n[JS as we{{ as
 tfie foster yarents. Reyorts were maae to tfie abuse hot fine hut            stiff
 remains in tfie same abusive fiome.           , our 8 year old son confiaed to
 my fiushana ana I at a suyervised visit tfiat they're hei'n{J abused in the
 current foster fiome ana fie doesn't fee{ safe in tfiat current yfacement.
We afso Fiave it on viaeo record-i'n[J and the caseworker :Makayfa 'Perry
 was yresent hut hfatant{y ifJnored fiis outcry. Larry & I Fiave yrovided
 tfie names of severa{ resyonsih{e_ friends anaf ami{y members wfio can
yroviae a safe fiome anayass a CPS ana crimina{ background cfieck, we
 should he ah{e to fiave our children caredfor hy someone tfiat we trust
 wfio wi{{yroviae a temyorary safe fiome anayass a CPS ana crimina{
 hackgrouna check. 'Unfortunate{y, our cfii(aren Fiave not received any
 opportunity of .Jf'B567 to fessen tfie unnecessary trauma tfiat our
 cfiiufren are experi.encino in foster care. Our 6 cfiildren are
 unnecessarify separatedfrom eacfi other in different foster homes
 causi'n{J further trauma. :Ms. 'Perry told my unc{e_ 1:ugene & aunt Wanda
 Jfutta wfiose fiome study was comy{eted on 3/6/22 CPS wi{{ on{y agree to
yface tfie children together with tfiem if they would he wi{fi'n[J to do
foster care. 1:ugene & Wanda agreed tfiat they're wi{fi'n{J to do anytfii'n[J
so tfiat tfie children can he together ana with fami{y, as of today 7/18/22
:Ms. 'Perry, fier suyervisor 'Patricia .Jvtc(jeefion, tfie children's aa fitem
Jfeatfier :fisher Fiave sti{{fai{ed to yface them witfi fami{y. On 4/1/22
:Makayfa 'Perry, our caseworker came to comy{ete a fiome insyection to
    Case 2:11-cv-00084 Document 1276 Filed on 08/02/22 in TXSD Page 2 of 8



see wfiere tfie cfiiufren wi{{ be sfeeying. On 4/4/22 we were informecf tfiat
our yermanency yfan was cfiangecffrom reunification to acfoytion 6y a
non-refative. We were cfevastatecfwfien we were infarmecf in court on
6/8/22 tfiat it was because we cficfn't sfiow tfie caseworker our garage.
Larry & I fiacf our attorney's co yartner :Mrs. 'Brignac yresent wfii{e tfie
 fiome insyection was being concfuctecf 6y :Makay{a, wfio never askecf or
mentionecf to us or :Mrs. 'Brignac tfiat sfie wouuf fike to see tfie garage.
:Mrs. 'Brignac askecf :Makayfa before :Makayfa Ceft is tfiere anytfiing efse
 tfiat Larry or I neecfec[ to cfo or is tfiere anytfiing efse tfiat sfie neecfs from
us ancf we were touf no. Larry & I fiave cfemonstratecf tfirougfi our
services afona witfi our visits tfiat we're ab{e to safe{y yarent our
cfiiufren fut sti{{ fiaven't been yrovicfec[ an oyyortunity to cfo so. Judge
'Bruce :Mc:farfing of tfie 362ncf cfistrict court is a{fowing tfiese tfiings to
 occur. I'm very concernecf about tfie futures of my f ami{y witfi tfie fiancfs
 tfiat we're in if you cfo not intervene immecfiate{y to fiouf everyone
 accountabfe according to tfie faw. I am requestine if you wouufyfease,
yfease 1:M:M'.E'DI.'A.T'ELY fiave one of your case manaeer's to Cook into tliis
matter witli 'D:f'PS 'Denton. 'IX am£ contact me back. 'Pfease cfo not Cet my
cfiiufren get acfoytecf because our caseworker is f aifing to strengtfien or
yreserve our fami{y. I fiave contactecf consumer affairs, fifec[ comyfaints
ancf receivecf 3 seyarate notices tfiat tfiere were severa{findings on
'Denton, Tx 'D:f'PS viofating J-i'B567 in wfiicfi tfiey continue to viofate 6y
refusing to a{fow tfie cfiiufren out of care. I can be reacfiec[ at



'Resyectfu{{y,


'Brancfy & Larry .'A.ncferson

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Your fi.onor Janice (grafi.amJack,


I am writing to you regarcfing tfi.e ongoing matter invofving CPS of Venton, 'IX. .'As of today,
12/14/2021 our 3 youngest cfrilaren                                                remain in foster care for 64
 days. Our 3 oGfest cfi.ilaren were yCaced into care as we[[ wfi.en tfi.e former yCacement Lacatfi.erine
 'Byrd was unabfe to continue care for                                                    on 12/02/2021 antf
 Fi.ave 6een in care for 12 days. Lacatfi.erine 'Byrd afso notified Maegan Self & .'AsFi.fey 'Buckfes on
 NO'Vem6er 17, 2021 tfi.at after Vecem6er 2, 2021 sfi.e woula 6e una6{e to yrovitfe yCacement for
                                    . CPS Fi.at£ amy{e time antf atfvance notice to yCace tfi.e cfi.iGfren witfi.
my yarents 6efore Vecem6er 2, 2021 antff aifed to tfo so. Instead, tfi.ey mentioned tfi.is at tfi.e very
 fast minute 6efore tfi.e judjJe sfi.ort{y after our atfversary Fi.earing wfi.icfi. enaed@5:30 ym. Maegan
 Self antf a coworker yickeduy                                        on Vecem6er 2, 2021 from Lacatfi.erine
'Byrd@ 9:56 ym 6ut yut on tfi.e notice of remova{ of cfi.iGfren tfi.ey ditfn't take custody untif
12/03/2021 @ 7:30 ym. .'A.sfi.{ey 'Buckfes refused to yCace any of tfi.e cfi.iGfren witfi. my yarents
a{tfi.ougfi. tfi.e fi.ome stutfy fi.atf a{reatfy 6een comyfeted antf recommenaet:l .'A.sfi.{ey 'Buckfes antf
:Maegan Self alwwed tfi.e oGfer cfi.iGfren to 6e yickeduy dai{y 6y my motfi.er Linda 'Payne from
Lacatfi.erine 'Byrd to care for tfi.em antf to yrO'Vitfe Lacatfi.erine a 6reak from 6 am to 8 ym from
11/18/2021- 11/25/2021 tfi.en sutftfen{y it wasn't autfi.orized any fonger . .'A.sfi.{ey 'Buckfes stated tfi.e
 fi.ome stutfy was not for tfi.e oGfer cfi.iGfren a{tfi.ougfi. sfi.e a{fowed tfi.em to 6e at my yarent's fi.ome
for extenaed amounts of time, fi.atf it not 6een ayyroyriate tfi.ey wouGf Fi.ave never a{{owed tfi.em
to visit. My yarent's fi.ome is {isted as adequate for a{{ 6 of tfi.e cfi.iGfren.
                     Fi.ave exyressed to severafyeoy{e inc{ucfing Maegan Se(f, Makay{a 'Perry, antf tfi.eir
atf fit em Jfeatfi.er :Jisfi.er tfi.at tfi.ey are in distress, uncomforta6{e, emotional; antf traumatized
tfi.at tfi.ey're not 6eing yCaced witfi. tfi.eir grandyarents. My yarents 'Randa{ antfLinda 'Payne
comyfeted a fi.ome stutfy on 10/25/2021 antf were recommenaed as suita6{e for tfi.e cfi.iGfren.
.'A.sfi.{ey 'Buckfes, :Maegan Se(f, Makay{a 'Perry, 'Patricia Mc(geefi.on, XiwanaJackson, Xaren
Lowery & Jennifer 'Ware Fi.ave 6een extreme{y 6iased in yrioritizing suyyort for fami{ies over
remova{ of our cfi.ilaren into foster care. Maegan Se(f, .'A.sh{ey 'Buckfes, Makay{a 'Perry, & 'Patricia
Mc(geefi.on aren't wi{fing to yCace tfi.e cfi.iGfren witfi. tfi.eir grandyarents antf are in tota{ cfisregard
of tfi.e Jf'B 567 transformationa{goafs of :Jami{y :first. I am yraying tfi.at you can intervene
quickfy antf draw a fine tfi.at has 6een cfear{y crossed: C'PS of Venton Fi.ave 6een a6using tfi.eir
authority antfpower antf I unaerstantf tfi.e yrocess 6ut tfi.e remO'Vafs yCacing tfi.e cfi.iGfren in care
sfi.ouGfnot Fi.ave 6een ayyroved of or tfone if we Fi.at£fami{y wi{fing antf avai{a6{e to care for tfi.e
cfi.ilaren. 'We trufy 6e{ieve antf Fi.ave 6een shown tfi.e oyyosite tfi.at tfi.ey tfo not Fi.ave tfi.e 6est
interest of anyone's cfi.iGfren! 'Iliey Fi.ave reyeated{y tfemonstrated 6ias, un-organization,
yartiafity, antf Cack of concern yertaining to our cfi.iGfren even coming cfirect{y from tfi.e
cfi.iGfren. Our cfi.iGfren are suffering emotiona{{y during tfi.is dijficuft time 6ecause tfi.ey're not
a6{e to 6e witfi. tfi.eir yarents, grandyarents, or any famify or friends tfi.at we Fi.ave recommenaetf
antfprO'Viaedfor tfi.at matter. 'Iliank you so mucfi. for your time antf attention to tfi.is very
imyortant matter antfI yray tfi.at you're a6{e to intervene syeeduy.                              'Brantfy
..'A.ntferson                    Larry ..'A.naerson                  Linda 'Payne (materna{grantfmotfi.er)


'Res_pectfu{{y,


'Brantfy & Larry ..'A.naerson
                           Case 2:11-cv-00084 Document 1276 Filed on 08/02/22 in TXSD Page 5 of 8




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                                                U, 11terl States Courts
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'Dear Lori Purifoy,                                JUL 2 2 2022
                                            Nathan Ochsner, ,Clerk of Cour:
I am a fiomemaker, motlier of 6 and fiave servea my community for 20
years. I am writing tfiis fetter on befialJ of my f ami{y wfiicfi incfudes my
 frusband Larry .'A.ndersan, me and our 6 cfiiGfren
                                        We ask tfiat you yfease intervene in our
 very serious and deficate matter regarding 'D:fPS of 'Dentan, TX and
 'Denton County Courts. My fiusband and I were court ordered to
 comyfete services, as of 3/8/2022 mine were comyfeted and on 3/15/22
 Larry's were comyfeted. We are yfeading witfi you for a case manager to
 intervene in tfiis matter. 'Tfie foster car e system lias f ai{ed and viofated
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         , our 13 year oGf daugfiter was yfiysica{{y assau{ted in a sfiefter
 wfiere sfie remained an additiona{ 60 days before being moved; aftfiOU[Jfi
 slie fias a safety net witfi f ami{y during tfiis time.        , our 4 year oGf
 daugfiter lias been abused in tfie foster fiome by foster sibfings as we{{ as
 tlie foster yarents. 'Reyorts were made to tfie abuse fiotfine but           sti{{
 remains in tlie same abusive fiome.             , our 8 year oGf son confided to
my fiusband and I at a suyervised visit tfiat tfiey're being abused in tfie
 current foster fiome and fie doesn't fee{ safe in tfiat current yfacement.
We afso fiave it on video recording and tlie caseworker Makayfa Perry
 was yresent but bfatant{y ignored fiis outcry. Larry & I fiave yrovided
 tfie names of severa{ resyonsibfe friends andf ami{y members wfio can
yrovide a safe fiome andyass a CPS and crimina{ background cfieck, we
 sfiou{d be abfe to fiave our cfiiGfren caredfor by someone tfiat we trust
 wfio wi{{yrovide a temyorary safe fiome andyass a CPS and crimina{
 background cliecli. 'Unfortunate{y, our cfiiG£ren liave not received any
 o_pportunity of:J-f'B567 to fessen tfie unnecessary trauma tliat our
 cfiifaren are experiencing in foster care. Our 6 cfiiGfren are
unnecessari{y seyaratedfrom eacfi otlier in different foster fiomes
 causing furtlier trauma. Ms. Perry toGf my uncfe 'Eugene & aunt Wanda
 J-lutta wfiose fiome study was comyfeted on 3/6/22 CPS wi{{ on{y agree to
yface tfie cfiiGfren together witfi tliem if tfiey wouGf be wi{fing to do
foster care. 'Eugene & Wanda agreed tfiat tfiey're wi{fing to do anytfiing
so tfiat tlie cfiiGfren can be together and witfi fami{y, as of today 7/18/22
 Ms. Perry, lier suyervisor Patricia Mc(jeefian, tlie cfiiGfren's ad fitem
 J-leatfier :fisfier fiave sti{{fai{ed to yface tfiem witfi fami{y. On 4/1/22
Makayfa Perry, our caseworker came to comy{ete a fiome insyection to
    Case 2:11-cv-00084 Document 1276 Filed on 08/02/22 in TXSD Page 7 of 8



see where the chiWren wi[[ be sfeeying. On 4/4/22 we were informea that
our yermanency yfan was changeafrom reunification to aaoytion by a
non-refative. We were aevastatea when we were informed' in court on
6/8/22 that it was because we aian't show the caseworker our garage.
Larry & I fiaa our attorney's co yartner :Mrs. 'Brignac yresent whife the
home insyection was being conauctea by :Makay[a, wfio never askea or
mentionea to us or :Mrs. 'Brignac that she woura fike to see tfie garage.
:Mrs. 'Brignac askea :Mafuy{a before :Makayfa fejt is there anything efse
 that Larry or I neeaea to ao or is there anything efse that sfie neeas from
us ana we were tou[ no. Larry & I have aemonstratea thr0Uf3h our
services afong with our visits that we're abfe to safe[y yarent our
chiWren but sti[[ haven't been yroviaea an oyyortunity to ao so. Judge
'Bruce :Mcj'arfing of the 362nd' aistrict court is a[fowing these things to
occur. I'm very concernea about tfie futures of my f ami[y with the hanas
that we're in if you ao not intervene immeaiate[y to hou[ everyone
accounta6fe accorcfing to the faw. I am requestine if you woufapfe,ase,
pfe,ase I:M:M'E1JI.'A.T'E£Y Cook into tfiis matter witfi 1Jj'PS Venton. T.X ana
contact me back. Pfease ao not [et my chiWren get aaoytea because our
caseworker is faifing to strengthen or yreserve our fami[y. I have
contactea consumer affairs, fi,fea comyfaints ana receivea 3 seyarate
notices that there were severa[fincfings on Venton, Tx 1Jj''PS viofating
Jf'B567 in which they continue to viofate by refusing to a[[ow the
chiWren out of care. I can be reacfiea at

We ayyreciate your attention anayromytness to tfiis very serious ana
aeficate matter.


Resyecifu[[y,


'Branay & Larry .'A.naerson

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